              Case 4:02-cv-00141-BAE Document 49 Filed 02/21/03 Page 1 of 3
                                                 O   R IGI IN A L
                          IN THE UNITED STATES DISTRIC T COURT
                                                                                                            ,:     ~ ,T
                         FOR THE SOUTHERN DISTRICT OF G EORGIA
                                   SAVANNAH DIVISION
                                                                                                     ,. .        ., . : !
JAMES A SANDERS, Jr . , and
NANETTE SANDERS ,
           Plaintiffs,

and
                                                                 Civil Action No . : CV 402-141
B U ILDERS INSURANCE GROUP, INC.,
            Intervenor ,

v

LULL IN TERNATIONAL, INC , and
RENTAL SERVICE CORPORATIO N , INC . ,
            Defendants,
a nd

RENTAL SERVICE CORPORATION , INC. ,
          Third-Party Plaintiff,
v.

TRH CONSTR U CTION COMPANY, INC .,
          Third - Party Defendant


                                                ORDER

        Having fully read and considered Plaintiffs' Motion to Transfer Venue to the Brunswick

Division and Defendant Rental Service Corporation, I nc .'s Response to Plaintiffs' Motion to

Transfer Venue to the B runswick Divis i on and all other ple a ding s re sponsive to Pla intiffs'

Motion, it is hereby ordered that Plaintiffs' Motion to Transfer Venue to the Brunswick Division

is DENIED. This action wi l l remain in the Savannah Division of the United States District Court

for the Southern District of Georgia .




                                              Page 1 of 2




                                                                                                                      V
                  Case 4:02-cv-00141-BAE Document 49 Filed 02/21/03 Page 2 of 3




          SO ORDERED this ~ day of                                 '2003 .




                                                          B. Xvaiit Edenfield
                                                   United States District Co/rt for the
                                                   Southern Distr ict of Georgia
Oidci P i epared B y
R ob Kelly
Georgia Ba i No 4 1 3059
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                                           Page 2 of 2
     Case 4:02-cv-00141-BAE Document 49 Filed 02/21/03 Page 3 of 3
                   UNITED ST ATE S DISTRICT COURT
                   Southern District of Georgia



        Case Number : 4 :02-cv-00141
        Date Served : Febzuary 21, 2003
        Served By :     ~

Attorneys Served

        Lloyd N . :
                  Bell,
                     ' Esq .
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        Derek J . White, Esq .
        Jordon D . Morrow, Esq .




                                               V   Copy placed in Minutes

                                                   Copy given to Judge

                                                   C opy given to Magistrate
